

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-0851-11






DAVID PARDO, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S  PETITION FOR DISCRETIONARY REVIEW


FROM THE NINTH COURT OF APPEALS


JEFFERSON COUNTY





		Per curiam.  Keasler and Hervey, JJ., dissent.


O R D E R 



	The petition for discretionary review violates Rule of Appellate Procedure 9.3(b) and
68.4(i) because the original petition is not accompanied by 11 copies and the petition does
not contain a copy of the opinion of the court of appeals.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition and copies must be filed
in the Court of Criminal Appeals within thirty days after the date of this Order.	

Filed: July 27, 2011

Do Not Publish


